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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA


XIAOMEI CHEN,

                             Plaintiff,
                                                                           1:18-cv-794 (TSE/TCB)
                                                                  Case No. _______
       v.
                                                                     COMPLAINT
LIN BING JUN, 789365.COM, 402013.COM,
402014.COM, 402015.COM, AND                                 DEMAND FOR JURY TRIAL
VIP999365.COM,

                             Defendants.


                                          COMPLAINT

       This is an action under the Anticybersquatting Consumer Protection Act (“ACPA”) 15

U.S.C. § 1125(d) in which Plaintiff Xiaomei Chen (“Plaintiff”) makes the following allegations

against Defendants Lin Bing Jun (“LBJ”), and 789365.com, 402013.com, 402014.com,

402015.com, and vip999365.com (collectively, the “Domain Names”).

                                           PARTIES

       1.     Plaintiff is an individual and resident at No. 16, Building 9, Peichang Temple Street,

Guancheng hau District, Zhengzhou City, China.

       2.     Upon information and belief, Defendant LBJ uses the name of Lin Bing Jun and

gave the incomplete and fake contact information as hei long jiang, China, which appears to the

name of one of the China’s provinces.

       3.     The Subject Domains Names, the res of this in rem action, 789365.com,

402013.com, 402014.com, 402015.com, and vip999365.com and their registry, Verisign, Inc., are

all located within this judicial district. Verisign, Inc.’s primary place of business is 12061

Bluemont Way, Reston, VA 20190.




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                                   JURISDICTION AND VENUE

        4.      This Court has in rem jurisdiction over the subject Domain Names pursuant to the

Anticybersquatting Consumer Protection Act (ACPA), 15 U.S.C. §1125(d) insofar as the registry

for the Domain Names, VeriSign, Inc. is located within this judicial district at 12061 Bluemont

Way, Reston, VA 20190.

        5.      This Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 as this action arises under the Anticybersquatting Consumer Protection Act (ACPA), 15

U.S.C. § 1125(d).

        6.      Venue is proper in this judicial district pursuant to 15 U.S.C § 1125(d)(2)(C) as the

subject registry, Verisign, Inc. is located within this judicial district at 12061 Bluemont Way,

Reston, VA 20190. Venue is further proper pursuant to 28 U.S.C. § 1391(b)(2) as the subjects of

this action, the Domain Names reside in this judicial district.

        7.      The Declaratory Judgment Act, 28 U.S.C. §2201, provides for a declaration of the

rights of the Plaintiff in this matter.

                                              NOTICE

        8.      Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(aa), notice of the filing of this

complaint and application for injunctive relief is being sent to the Defendant LBJ at the incomplete

postal and email address as listed on ICANN to which there has previously been no response, as

well as the current WHOIS address on the subject Domain Names which are GoDaddy.com,

Transfer Dispute Support Staff, Corporate Headquarters, 14455 N. Hayden Rd., Ste. 226,

Scottsdale, Arizona 85260, transferdisputes@godaddy.com, and PrivacyGuardian.org, 1928 E.

Highland       Ave.      Ste      F104     PMB#       255,        Phoenix,   AZ       85016,     pw-

9ff610a48fd63fe2f85dd9a3a157f146@privacyguardian.org.



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        9.      Plaintiff is providing notice contemporaneously with the filing of this complaint.

Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(bb), Plaintiff will promptly publish notice of this

action as the court may direct after filing of this Complaint. A request to waive service pursuant

to Rule 4(d) of the Federal Rules of Civil Procedure is being sent as well.

        10.     Joinder of the subject Domain Names is proper under Fed. R. Civ. P. 20(a)(2) in

that the claims set forth herein arise out of the same set of operative facts and questions of law

common to all claims and Defendants.

                                  FACTUAL BACKGROUND

        11.     Plaintiff is the rightful owner of the account (Customer No. 105723406 at

GoDaddy.com) and owns the Domain Names and associated trademarks (the “Marks”). See

Declaration of Xiaomei Chen (“Chen Decl.), at ¶ 4-6, attached hereto as Exhibit A.

        12.     The Defendant Domain Names and Marks were used in commerce in conjunction

with online services by Plaintiff as early as June 22, 2016. Chen Decl. at ¶ 5-6, 8. Plaintiff owned

and used the domain names in commerce until the domain names were unlawfully taken without

consent into Defendant LBJ’s control around October 7, 2017. Chen Decl. at ¶ 6. The Domain

Names have generated $6,000.00 in revenue and 325 visits on average each month since their first

operations. Id at 8.

        13.     The illegal transfer of the Defendant Domain Names occurred around October 7,

2017, by an unnamed individual identified as  Lin Bing Jun using an email account of

cxmgllyx@gmail.com. Chen Decl. at ¶ 6.

        14.     The hacking was immediately reported by Plaintiff to GoDaddy.com, LLC

(“GoDaddy”), which owns GoDaddy.com and NameSilo, LLC (“NameSilo”) which owns

Namesilo.com.



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        15.     The Defendant Domain Names were illegally transferred without Plaintiff’s

authorization. Chen Decl. at ¶ 6.

        16.     It is believed the hacker hacked into Plaintiff’ GoDaddy.com account and then

transferred the Domain Names away from Plaintiff’s accounts to his own. Chen Decl. at ¶ 7.

        17.     The Domain Names are still under control of Defendant LBJ. Chen Decl. at ¶ 9.

        18.     Plaintiff has retained this law firm to retrieve the Defendant Domain Names and

take legal action against those responsible for the illegal transfer.

                                      COUNT I
                          CLAIM FOR DECLARATORY JUDGMENT

        19.     Plaintiff repeats and realleges all previous statements made herein of this Complaint

as if fully set forth herein.

        20.     Plaintiff had a contract with GoDaddy for control over the Domain Name.

        21.     Defendant LBJ’s actions have taken control of the subject domain from Plaintiff.

        22.     The Declaratory Judgment Act, 28 U.S.C. § 2201, provides for declaration of the

rights of the Plaintiff in this matter.

                           COUNT II
   ANTICYBERSQUATTING CONSUMER PROTECTION ACT, 15 U.S.C. § 1125(d)

        23.     Plaintiff repeat and reallege all previous statements herein of this Complaint as if

fully set forth herein.

        24.     Plaintiff is the owner of the Marks, which are protected under 15 U.S.C. § 1125(a)

and (d).

        25.     Plaintiff owned and used the Domain Names and Marks in commerce since their

registration until the Domain Names were unlawfully transferred without Plaintiff’s consent to

Defendant LBJ’s control.



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          26.   The Domain Names are identical to and/or confusingly similar to the Marks owned

by Plaintiff.

          27.   Defendant LBJ has transferred and registered the Domain Names, trafficked in,

and/or used Plaintiff’s Marks and Domain Names and has done so with bad faith intent to profit

from the Marks and Domain Names.

          28.   Because of Defendant LBJ’s actions, Plaintiff is being prevented from using and

exercising control over the subject Domain Names and Marks.

          29.   Plaintiff is being harmed by not having access to their Domain names or Marks.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against the Defendants, as follows:

          1.    Declaring that Plaintiff is the only entity with any rights to the contract controlling

the subject Domain Names.

          2.    Declaring Defendant LBJ does not have any rights to the subject Domain Names.

          3.    ORDERING Verisign, NameSilo, and/or GoDaddy.com to return control of the

Domain Names to Plaintiff’s accounts as instructed by Plaintiff’s counsel.

          4.    Granting such other and further relief to Plaintiff as this Court deems just and

proper.




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      DATED June 27, 2018.              Respectfully submitted,

                                        By: /s/ Steven War
                                        Steven War (VSB # 45048)

                                        McNeely, Hare & War LLP
                                        5335 Wisconsin Ave, NW, Suite 440
                                        Washington, DC 20015
                                        Tel: (202) 536-5877
                                        Fax: (202) 478-1813
                                        steve@miplaw.com

                                        By: /s/ Timothy T. Wang
                                        Timothy T. Wang
                                        (pro hac vice motion will be filed)
                                        Texas Bar No. 24067927
                                        twang@nilawfirm.com
                                        Stevenson Moore V
                                        Texas Bar No. 24076573
                                        smoore@nilawfirm.com

                                        NI, WANG & MASSAND, PLLC
                                        8140 Walnut Hill Ln., Ste. 500
                                        Dallas, TX 75231
                                        Tel: (972) 331-4600
                                        Fax: (972) 314-0900

                                        ATTORNEYS FOR PLAINTIFF
                                        XAIOMEI CHEN




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